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           EXHIBIT C
P2JW118000-0-C00500-1--------XA                                                                               CL,CN,CX,DL,DM,DX,EE,EU,FL,HO,KC,MW,NC,NE,NY,PH,PN,RM,SA,SC,SL,SW,TU,WB,WE
           CMYK       Composite                                                                               BG,BM,BP,CC,CH,CK,CP,CT,DN,DR,FW,HL,HW,KS,LA,LG,LK,MI,ML,NM,PA,PI,PV,TD,TS,UT,WO
                                                                                                          Case 4:07-cv-05944-JST Document 2712-4 Filed 07/28/14 Page 2 of 2


     THE WALL STREET JOURNAL.                                                                                                                                                                                                                                                                                                  Monday, April 28, 2014 | C5

                                                                                                                                                                                                    ADVERTISEMENT
                             CLOSED-END FUNDS & MONEY RATES
                                                                               WSJ.com/fundresearch                                                                                                 Legal Notices
                                                                                                                                                                                                    To advertise: 800-366-3975 or WSJ.com/classiﬁeds
     Listed are the 300 largest closed-end funds as measured by                                                                 52 wk                                          Prem 12 Mo
     assets.                                                                                                               Prem    Ttl   Fund (SYM)                  NAV Close /Disc Yld
     Closed-end funds sell a limited number of shares and invest the
     proceeds in securities. Unlike open-end funds, closed-ends generally
                                                                               Fund (SYM)                      NAV Close /Disc Ret
                                                                                                                                          BlackRock Municipal Trust BFK 14.26 13.64 -4.3      6.8                                                                                     CLASS ACTIONS
     do not buy their shares back from investors who wish to cash in           World Equity Funds                                         BlackRockMuni BLE             14.86 14.46 -2.7      7.1
     their holdings. Instead, fund shares trade on a stock exchange.
     a-The NAV and market price are ex dividend. b-The NAV is fully              Aberdeen Greater China FdGCH 11.27 9.92 -12.0 -6.3       BlackRockMuni Tr BYM 15.03 14.14 -5.9               6.8
     diluted. c-NAV is as of Thursday’s close. d-NAV is as of                    Aberdeen Lat Amer LAQ 31.60 28.55 -9.7 -13.5             BlkRk MuniAssets Fd MUA 13.54 12.82 -5.3            6.1
     Wednesday’s close. e-NAV assumes rights offering is fully                   Alpine Tot Dyn Div AOD 9.84 8.43 -14.3 10.7
     subscribed. f-Rights offering in process. g-Rights offering announced.                                                               BlkRk Munienhanced MEN 11.94 11.32 -5.2             6.6
     h-Lipper data has been adjusted for rights offering. j-Rights offering      Calamos Glbl Dyn Inc CHW 10.15 9.15 -9.9 11.0            BlkRk MuniHldgs Inv MFL 14.90 13.74 -7.8            6.4
     has expired, but Lipper data not yet adjusted. l-NAV as of previous
     day. o-Tender offer in process. v-NAV is converted at the
                                                                                 Cdn Genl Inv CGI              26.88 18.29 -32.0 22.0     BlkRk MuniHldgs Qlty II MUE 14.23 13.20 -7.2        6.6                                                       /(*$/ 127,&(
                                                                                 Ctrl Europe Russia Fd CEE 28.17 25.33 -10.1 -13.7
     commercial Rand rate. w-Convertible Note-NAV (not market)
                                                                                 China Fund CHN                22.76 20.04 -12.0 11.5
                                                                                                                                          BlkRk MuniVest MVF             9.99 9.68 -3.1       7.3            ,I <RX %RXJKW $ &DWKRGH 5D\ 7XEH ³&57´ RU &57 3URGXFW $ &ODVV $FWLRQ 6HWWOHPHQW 0D\ $IIHFW <RX
     conversion value. y-NAV and market price are in Canadian dollars.                                                                    BlkRk MuniVest II MVT 15.43 15.05 -2.5              7.2
     NA signifies that the information is not available or not applicable.       Clough Glbl Eqty Fd GLQ 16.79 15.06 -10.3 13.8                                                                                      &57 3URGXFWV LQFOXGH 7HOHYLVLRQV RU &RPSXWHU 0RQLWRUV WKDW FRQWDLQ &DWKRGH 5D\ 7XEHV
     NS signifies fund not in existence of entire period.                                                                                 BlkRk MuniYield MYD 14.70 14.24 -3.1                7.2
     12 month yield is computed by dividing income dividends paid                Clough Global Opp Fd GLO 14.40 12.47 -13.4 6.7           BlkRk MuniYld Quality MQY 15.73 14.89 -5.3          6.6
     (during the previous twelve months for periods ending at month-             EtnVncTxAdvGblDiv ETG 17.96 16.73 -6.8 13.5              BlkRk MuniYld Qlty II MQT 13.78 12.92 -6.2          6.7     6HWWOHPHQWV KDYH EHHQ UHDFKHG ZLWK WZR JURXSV RI GHIHQGDQWV LQ D FODVV                          LQ FDVK WR WKH 6HWWOHPHQW &ODVV %RWK 6HWWOLQJ 'HIHQGDQWV DJUHHG WR
     end or during the previous fifty-two weeks for periods ending at
     any time other than month-end) by the latest month-end market               EatonVance TxAdv Opport ETO 26.09 24.07 -7.7 14.2        BlRkMunyldQltyIII MYI 14.66 13.95 -4.8              6.3     DFWLRQ ODZVXLW LQYROYLQJ &57V DQG &57 3URGXFWV 7KHVH DUH WKH VL[WK                             FRRSHUDWH ZLWK WKH 3ODLQWLIIV LQ SURYLGLQJ FHUWDLQ LQIRUPDWLRQ DERXW WKH
     price adjusted for capital gains distributions.                             GDL Fund GDL                  12.48 11.02 -11.7 5.7      Dreyfus Muni Income DMF 9.48 9.22 -2.7              6.9     DQG VHYHQWK VHWWOHPHQWV WR GDWH &57 VWDQGV IRU ³&DWKRGH 5D\ 7XEH´                             DOOHJDWLRQV LQ WKH &RPSODLQW 0RQH\ ZLOO QRW EH GLVWULEXWHG WR &ODVV
                                                              Source: Lipper                                   24.90 22.19 -10.9 10.7                                                                 ³&DWKRGH 5D\ 7XEH &57 3URGXFWV´ LQFOXGH &DWKRGH 5D\ 7XEHV DQG
                                                                                 India Fund IFN                                           Dreyfus Strat Muni Bond DSM 8.37 8.02 -4.2          7.3                                                                                                     PHPEHUV DW WKLV WLPH 7KH ODZ\HUV ZLOO SXUVXH WKH ODZVXLW DJDLQVW
                          Friday, April 25, 2014                                 ING Emerg Mkts Hi Div Equ IHD 12.67 11.72 -7.5 -11.2                                                                 ¿QLVKHG SURGXFWV WKDW FRQWDLQ D &DWKRGH 5D\ 7XEH VXFK DV 7HOHYLVLRQV                            RWKHU GHIHQGDQWV DQG FRFRQVSLUDWRUV WR VHH LI DQ\ IXWXUH VHWWOHPHQWV RU
                                                      52 wk                                                                               Dreyfus Strategic Munis LEO 8.55 8.25 -3.5          7.2
                                                                                 ING Infrastructure Indu IDE 19.15 17.33 -9.5 13.6
                                                                                                                                          DWS Muni Inco KTF             13.39 13.30 -0.7      6.4     DQG &RPSXWHU 0RQLWRUV                                                                          MXGJPHQWV FDQ EH REWDLQHG LQ WKH FDVH DQG WKHQ EH GLVWULEXWHG WRJHWKHU
                                                Prem     Ttl                     Korea Fund Inc KF             44.89 40.32 -10.2 6.6
     Fund (SYM)                      NAV Close /Disc Ret                                                                                  Eaton Vance Mun Bd Fd EIM 13.27 12.40 -6.6          6.4     :KDW LV WKLV ODZVXLW DERXW" 7KH ODZVXLW DOOHJHV WKDW 'HIHQGDQWV                                 WR UHGXFH H[SHQVHV
                                                                                 Mexico Fund MXF               26.18 26.11 -0.3 -17.0
     General Equity Funds                                                        Morgan-Stanley Asia-Pac APF 17.76 15.97 -10.1 -3.6
                                                                                                                                          Eaton Vance Mun Income EVN 11.76 12.30 +4.6         7.6     DQG &R&RQVSLUDWRUV HQJDJHG LQ DQ XQODZIXO FRQVSLUDF\ WR ¿[ UDLVH                             :KDW DUH P\ ULJKWV" ,I \RX ZLVK WR UHPDLQ D PHPEHU RI WKH 6HWWOHPHQW
       Adams Express ADX             15.20 13.02 -14.3 18.0                      MS China a Shr Fd CAF 23.27 21.47 -7.7 -5.4
                                                                                                                                          EV National Municipal Opp EOT 21.82 19.93 -8.7      5.1     PDLQWDLQ RU VWDELOL]H WKH SULFHV RI &57V 3ODLQWLIIV IXUWKHU FODLP WKDW                         &ODVV \RX GR QRW QHHG WR WDNH DQ\ DFWLRQ DW WKLV WLPH ,I \RX GR QRW ZDQW
       Boulder Total Return Fund BTF 30.94 24.77 -19.9 18.3                      MS India Invest IIF           22.46 19.71 -12.2 12.2
                                                                                                                                          Invesco Adv Mun Incm II VKI 12.21 11.16 -8.6        7.0     GLUHFW SXUFKDVHUV RI WHOHYLVLRQV DQG PRQLWRUV WKDW FRQWDLQ D FDWKRGH UD\                        WR EH OHJDOO\ ERXQG E\ RQH RU ERWK RI WKH 6HWWOHPHQWV \RX PXVW H[FOXGH
       Central Securities CET 26.55 22.30 -16.0 29.2                             New Germany GF                20.84 18.74 -10.1 32.8
                                                                                                                                          Invesco Mun Incm Opps Tr OIA 7.19 6.86 -4.6         6.3     WXEH IURP WKH 'HIHQGDQWV PD\ UHFRYHU IRU WKH HIIHFW WKDW WKH FDWKRGH UD\                        \RXUVHOI LQ ZULWLQJ E\ -XQH   RU \RX ZLOO QRW EH DEOH WR VXH
       CohSteer Opprtnty Fd FOF 14.64 13.10 -10.5 6.0                                                                                     Invesco Mun Opportunity VMO 13.56 12.38 -8.7        6.7     WXEH FRQVSLUDF\ KDG RQ WKH SULFHV RI WHOHYLVLRQV DQG PRQLWRUV 3ODLQWLIIV
                                                                                 Nuveen Gl Equity Incm Fd JGV 15.37 13.38 -13.0 5.1                                                                                                                                                                   RU FRQWLQXH WR VXH WKH 6HWWOLQJ 'HIHQGDQWV DERXW WKH OHJDO FODLPV LQ
       EtnVnc TaxAdvDiv EVT 21.89 19.66 -10.2 10.6                                                                                        Invesco Municipal Trust VKQ 13.53 12.31 -9.0        6.8     DOOHJH WKDW DV UHVXOW RI WKH XQODZIXO FRQVSLUDF\ WKH\ DQG RWKHU GLUHFW
                                                                                 Swiss Helvetia Fund SWZ 16.19 14.28 -11.8 24.5                                                                                                                                                                       WKLV FDVH
       GabelliDivInco GDV            24.27 22.10 -8.9 21.5                       Templeton Dragon TDF 27.62 24.39 -11.7 -5.5              Invesco Qlty Mun Inco IQI 13.25 12.00 -9.4          6.8     SXUFKDVHUV SDLG PRUH IRU &57 3URGXFWV WKDQ WKH\ ZRXOG KDYH DEVHQW
       Gabelli Equity GAB             7.01 7.34 +4.7 24.7                        Templeton Emerging EMF 19.04 17.36 -8.8 -6.1             Invesco Inv Grade Muni VGM 14.13 12.95 -8.4         7.0     WKH FRQVSLUDF\ 'HIHQGDQWV GHQ\ 3ODLQWLIIV¶ FODLPV                                             ,I \RX ZLVK WR FRPPHQW RQ RU GLVDJUHH ZLWK DQ\ DVSHFW RI WKH SURSRVHG
       Genl American Investors GAM 41.23 35.33 -14.3 19.3                        Thai Fund Inc TTF             12.84 11.25 -12.4 -12.0    Invesco Value Mun Incm Tr IIM 15.79 15.10 -4.4      6.2                                                                                                     6HWWOHPHQWV \RX PXVW GR VR LQ ZULWLQJ QR ODWHU WKDQ -XQH   7KH
                                                                                                                                                                                                      :KR¶V LQFOXGHG LQ WKH VHWWOHPHQWV" 7KH 6HWWOHPHQWV LQFOXGHV
       HnckJohn TxAdv HTD 22.97 20.48 -10.8 5.6                                  Wells Fargo Gl Div Opp EOD 8.78 8.02 -8.7 14.1           MainStay DefinedTerm MMD 18.24 17.29 -5.2           6.7                                                                                                     6HWWOHPHQW $JUHHPHQWV DORQJ ZLWK GHWDLOV RQ KRZ WR REMHFW WR WKHP DUH
                                                                                                                                                                                                      DOO SHUVRQV DQG HQWLWLHV ZKR EHWZHHQ 0DUFK   DQG
       Liberty All Star USA           6.57 5.88 -10.5 21.4                                                                                MFS Munl Inco MFM              7.02 6.60 -6.0       6.7                                                                                                     DYDLODEOH DW ZZZ&57'LUHFW3XUFKDVHU$QWLWUXVW6HWWOHPHQWFRP 7KH
                                                                                                                           Prem 12 Mo
                                                                                                                                          NuvAMTFreeMuniIncm NEA 14.46 13.28 -8.2             6.3     1RYHPEHU   GLUHFWO\ SXUFKDVHG D &57 3URGXFW LQ WKH 8QLWHG
       Royce Micro-Cap RMT 13.54 11.97 -11.6 31.2                              Fund (SYM)                      NAV Close /Disc Yld                                                                                                                                                                    86 'LVWULFW &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI &DOLIRUQLD ZLOO KROG D
                                                                                                                                          NuvDivAdvMuniIncm NVG 15.49 13.75 -11.2             5.0     6WDWHV IURP DQ\ GHIHQGDQW RU VXEVLGLDU\ RU DI¿OLDWH WKHUHRI ³6HWWOHPHQW
       Royce Value Trust RVT 17.45 15.51 -11.1 12.6                                                                                                                                                                                                                                                   )DLUQHVV +HDULQJ DW  DP RQ $XJXVW   DW WKH 86 'LVWULFW
                                                                               U.S. Mortgage Bond Funds
                                                                                                                                          Nuveen Div Fnd NAD 15.08 13.68 -9.3                 6.5     &ODVV´ 
       Source Capital SOR            75.69 67.37 -11.0 18.5                      Blackrock Income Trust BKT 7.26 6.56 -9.6 6.9                                                                                                                                                                        &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI &DOLIRUQLD  *ROGHQ *DWH $YH
       Tri-Continental TY            23.45 20.13 -14.2 16.9                                                                               Nuveen Div Fnd 2 NXZ 15.24 13.78 -9.6               6.0     :KR DUH WKH 6HWWOLQJ 'HIHQGDQWV" 6HWWOHPHQWV KDYH EHHQ UHDFKHG                                  6DQ )UDQFLVFR &$  &RXUWURRP  WK )ORRU 7KH KHDULQJ PD\
                                                                                 Brookfield TR Fund HTR 26.64 24.39 -8.4 9.1
       Zweig Fund Inc ZF             16.70 15.13 -9.4 27.3                                                                                Nuveen Div Adv NZF            15.07 13.34 -11.5     5.4     ZLWK  6DPVXQJ 6', &R /WG IND 6DPVXQJ 'LVSOD\ 'HYLFHV                                       EH PRYHG WR D GLIIHUHQW GDWH RU WLPH ZLWKRXW DGGLWLRQDO QRWLFH VR LW LV D
                                                                                 Nuveen Mtg Oppy Term Fd JLS 26.36 23.94 -9.2 7.4
     Specialized Equity Funds                                                                                                             Nuveen Enhncd Mun Val Fd NEV 14.96 14.20 -5.1       6.9     &R /WG  6DPVXQJ 6', $PHULFD ,QF 6DPVXQJ 6', %UDVLO /WG                                JRRG LGHD WR FKHFN WKH FODVV ZHEVLWH IRU LQIRUPDWLRQ
                                                                               Investment Grade Bond Funds
       AllnzGI NFJ Div Interest NFJ 18.48 18.21 -1.5 20.5                                                                                 Nuveen Invest Qual Muni NQM 15.51 14.55 -6.2        6.8     7LDQMLQ 6DPVXQJ 6', &R /WG 6DPVXQJ 6KHQ]KHQ 6', &R /WG
                                                                                 AllianceBrnstn IncoFd ACG 8.34 7.39 -11.4 6.0                                                                                                                                                                        7KH &RXUW KDV DSSRLQWHG WKH ODZ ¿UP RI 6DYHUL            6DYHUL ,QF WR
       AlpnGlblPrProp AWP             7.93 7.09 -10.6 -10.2                                                                               Nuveen Muni Advantage Fd NMA 14.76 13.28 -10.0      6.1     6', 0DOD\VLD 6GQ %KG DQG 6', 0H[LFR 6$ GH &9 FROOHFWLYHO\
                                                                                 Blackrock Core Bond Tr BHK 14.86 13.56 -8.7 6.6                                                                                                                                                                      UHSUHVHQW 'LUHFW 3XUFKDVHU &ODVV PHPEHUV DV ,QWHULP /HDG &ODVV
       ASA Gold & Prec Metals ASA 14.83 13.99 -5.7 -7.3                          BlkRk Credit Alloc Incm BTZ 15.42 13.67 -11.3 7.0
                                                                                                                                          NuveenMuniIncoOpp Fd NMZ 13.13 12.99 -1.1           6.9     ³6DPVXQJ 6',´ DQG  +LWDFKL /WG +LWDFKL 'LVSOD\V /WG QND
       BlkRk Enh Cap Inco CII 15.39 14.14 -8.1 19.2                                                                                       Nuveen Muni Mkt Opp NMO 14.50 13.18 -9.1            6.1     -DSDQ 'LVSOD\ ,QF  +LWDFKL $PHULFD /WG +LWDFKL $VLD /WG DQG                             &RXQVHO $W WKH )DLUQHVV +HDULQJ WKH &RXUW ZLOO FRQVLGHU ZKHWKHU WKH
                                                                                 BlkRk IncoTr BNA              11.61 10.65 -8.3 6.8
       BlkRk Engy Res Tr BGR 27.98 24.96 -10.8 16.2                                                                                       Nuveen Mun Opportunity Fd NIO 15.18 14.00 -7.8      6.1     +LWDFKL (OHFWURQLF 'HYLFHV 86$ ,QF FROOHFWLYHO\ ³+LWDFKL´  7KH                               6HWWOHPHQWV DUH IDLU UHDVRQDEOH DQG DGHTXDWH ,I WKHUH DUH REMHFWLRQV RU
                                                                                 John Hancock Income Secs JHS 15.63 14.56 -6.8 6.8
       BlackRock Enh Eq Div Tr BDJ 9.08 8.01 -11.8 11.7                                                                                   Nuveen Muni Value Fund NUV 9.94 9.66 -2.8           4.6     FRPSDQLHV DUH WRJHWKHU UHIHUUHG WR DV WKH ³6HWWOLQJ 'HIHQGDQWV´  $                            FRPPHQWV WKH &RXUW ZLOO FRQVLGHU WKHP DW WKDW WLPH <RX PD\ DSSHDU
                                                                                 MFS Inc Tr MIN                 5.61 5.30 -5.5 9.5
       Blackrock Global Trust BOE 16.30 14.60 -10.4 13.9                         WstAstClymr InfLnkd Fd WIW 13.62 12.00 -11.9 3.4
                                                                                                                                          Nuveen Performance Plus NPP 15.69 14.60 -6.9        6.3     FRPSOHWH OLVW RI 'HIHQGDQWV LV VHW RXW LQ WKH /RQJ )RUP RI 1RWLFH                               DW WKH KHDULQJ EXW GRQ¶W KDYH WR :H GR QRW NQRZ KRZ ORQJ WKHVH
       BlkRk Intl Grwth&Inco BGY 8.77 7.98 -9.0 13.9                                                                                      Nuveen Premium Inco Muni NPI 14.71 13.38 -9.0       6.5     DYDLODEOH DW ZZZ&57'LUHFW3XUFKDVHU$QWLWUXVW6HWWOHPHQWFRP                                     GHFLVLRQV ZLOO WDNH 3OHDVH GR QRW FRQWDFW WKH &RXUW DERXW WKLV FDVH
                                                                                 WstAssetClymr InflLnk Sec WIA 13.52 12.00 -11.2 3.3
       BlkRk Real Asset Eqty Tr BCF 10.28 9.05 -12.0 2.6                                                                                  Nuveen Prem Inco Muni 2 NPM 15.09 13.69 -9.3        6.4
                                                                               Loan Participation Funds                                                                                               :KDW GR WKH 6HWWOHPHQWV SURYLGH" 7KH 6DPVXQJ 6', 6HWWOHPHQW                                     7KLVLVD6XPPDU\1RWLFH )RUPRUHGHWDLOVFDOOWROOIUHH
       BlackRck Rscs Comm Str Tr BCX 13.80 11.96 -13.3 5.0                                                                                Nuveen Prem Inco Muni 4 NPT 13.70 12.76 -6.9        6.5
                                                                                 Apollo Sr Fltg Rate Fd AFT 19.06 18.07 -5.2 6.7
                                                                                                                                          Nuveen Premier Muni Inc NPF 14.81 13.45 -9.2        6.4     SURYLGHV IRU WKH SD\PHQW RI  LQ FDVK WR WKH 6HWWOHPHQW                               YLVLW ZZZ&57'LUHFW3XUFKDVHU$QWLWUXVW6HWWOHPHQWFRP RU ZULWH WR
       BlackRock Utility & Infr BUI 22.00 19.22 -12.6 5.7                        BlkRk Fltg Rate Inc Strat FRA 15.41 14.56 -5.5 6.3                                                                   &ODVV 7KH +LWDFKL 6HWWOHPHQW SURYLGHV IRU WKH SD\PHQW RI                            &57 'LUHFW 6HWWOHPHQW 32 %R[  3HWDOXPD &$ 
       CBREClarionGlblRlEstIncm IGR 9.63 8.49 -11.8 -6.6                                                                                  Nuveen Quality Income NQU 14.99 13.68 -8.7          5.9
                                                                                 Blkrk FltRt InTr BGT          14.80 14.04 -5.1 6.1
       Central Fund Of Canada CEF 14.72 13.97 -5.1 -18.3                                                                                  Nuveen Quality Muni Fund NQI 14.53 13.02 -10.4      6.1
                                                                                 Blackstone GSO Sr Float BSL 19.05 18.32 -3.8 6.9
       Central GoldTrust GTU 48.16 45.67 -5.2 -15.5                                                                                       Nuveen Select Quality NQS 15.08 13.54 -10.2         5.9
                                                                                 EtnVncFltRte IncoTr EFT 16.02 15.23 -4.9 6.2                                                                                                        BANKRUPTCIES
       ClearBridge Engy MLP Fd CEM 27.85 27.35 -1.8 6.0                                                                                   PIMCO MuniFd PMF NA.00 13.68 NA                     7.2
                                                                                 EatonVnc SrFltRate EFR 15.63 15.02 -3.9 6.8
       Clearbridge Engy MLP Opp EMO 25.02 23.24 -7.1 4.0                                                                                  Pimco Muni Inc II PML NA.00 11.92 NA                6.7
                                                                                 Eaton Vance Sr EVF             7.30 6.90 -5.5 6.5
       Clearbridge Engy MLP TR CTR 23.77 22.25 -6.4 2.4                                                                                   PIMCO Muni Inc III PMX NA.00 10.75 NA               7.5
                                                                                 1st Tr Sr Fltg Rt Fd II FCT 14.85 13.93 -6.2 6.7
       ChnStrGbInc INB               12.50 12.36 -1.1 20.6                                                                                PionrMuniAdv Tr MAV 12.24 14.88 +21.6               7.8
                                                                                 ING Prime Rate Trust PPR 6.03 5.78 -4.1 6.9                                                                        '!& %&&% !$'#&* "'$&
       Cohen & Steers Infra UTF 25.66 22.43 -12.6 13.4                                                                                    Pionr Muni HI Tr MHI 13.30 14.89 +12.0              7.6   %"'&$! %&$& " !( *"$
                                                                                 Invesco Credit Opps Fund VTA 13.91 13.02 -6.4 6.9
       Cohen & Steers Qual Inc RQI 11.88 10.69 -10.0 -5.6                                                                                 Putnam Tr PMM                  7.64 7.15 -6.4       6.7
                                                                                 Invesco Senior Income Tr VVR 5.26 5.01 -4.8 7.1                                                                    ? C6                                     
                                                                                                                                          Putnam Muni Opportunities PMO 12.73 11.58 -9.0      5.5




                                                                                                                                                                                                                                                                                                            LEGAL
       CohnStrsPfdInco RNP 19.86 17.21 -13.3 -4.1                                Nuveen Credit Strt Inc Fd JQC 10.24 9.44 -7.8 7.4                                                                                                             92AE6C
       Duff & Phelps DNP              9.70 9.95 +2.6 2.6                                                                                  Wstrn Asset Mngd Muni MMU 13.45 12.99 -3.4          6.1   )'%$%- $%'&%') 6E 2=                2D6 $@   "
                                                                                 NuvFloatRteInco Fd JFR 12.62 11.83 -6.3 6.7
       Dow30PremInc DPO              13.71 13.30 -3.0 20.3                                                                                Western Asset Mun Tr Fund MTT 22.32 22.18 -0.6      4.5                                              @:?E=J 5>:?:DE6C65
                                                                                 Nuv Float Rte Opp Fd JRO 12.70 12.21 -3.9 6.9                                                                                '6@C82?:K65 63E@CD             
       Duff&PhelpsGblUtilIncFd DPG 23.03 20.11 -12.7 8.8                                                                                 Single State Muni Bond
                                                                                 Pionr Float Rte Tr PHD 12.94 12.42 -4.0 7.3                                                                                                                  
       Eaton Vance Eqty Inco Fd EOI 14.17 13.03 -8.0 20.6                                                                                 BlackRock CA Municipal Tr BFZ 15.70 14.98 -4.6
                                                                                                                                                                                      6.3
                                                                               High Yield Bond Funds                                                                                                                           !"& " *            !
       Eaton Vance Eqty Inco II EOS 13.73 13.05 -5.0 25.0                                                                                 BlkRk MuniHldgs CA Qlty MUC 15.72 14.42 -8.36.2
                                                                                 AllianceBernstein Glbl AWF 15.20 14.83 -2.4 8.7                                                                        "$ ! "&"!% &" &$"!")$$  %&& !& $ !&




                                                                                                                                                                                                                                                                                                            NOTICES
       EtnVncRskMngd ETJ 12.30 11.23 -8.7 11.4                                                                                            Blkrck MunHl NJ Qlty MUJ 15.53 14.15 -8.9   6.4
                                                                                 BlackRock Corp Hi Yd Fd HYT 13.37 12.20 -8.8 8.7                                                                   #% & !"& E92E @? AC:=              E96 ?252C<@ ":E:82E:@? )CFDE E96
       Etn Vnc Tax Mgd Buy-Write ETB 16.03 15.66 -2.3 14.6                                                                                BlRk MuHldg NY Qlty MHN 14.53 13.72 -5.6    6.7           L":E:82E:@? )CFDEN 2D DF446DD@C E@ 63E@CD )C@?@I ?4@CA@C2E65 )C@?@I ,@C=5H:56 ""
                                                                                 BlkRk Debt Strat Fd DSU 4.42 4.08 -7.7 8.1
       Eaton Vance BuyWrite Opp ETV 14.49 14.41 -0.6 21.4                                                                                 BlkRk MuniYld CA Fd MYC 16.25 15.14 -6.8    6.4           2?5 )C@?@I "" :? E96 23@G642AE:@?65 25G6CD2CJ AC@4665:?8 2?5 ?252C<@ &6EC@=6F>
                                                                                 BlackRockDurInco Tr BLW 18.14 17.31 -4.6 7.3                                                                       @CA@C2E:@? !6CC#466 @CA@C2E:@? !6CC#466 %:=  2D @CA@C2E:@? ? < 2
       Eaton Vance Tax-Mng Div ETY 12.01 11.21 -6.7 20.0                                                                                  BlkRk MuniYld CA Quality MCA 16.05 14.91 -7.1
                                                                                                                                                                                      6.3
                                                                                 Credit Suisse High Yld DHY 3.16 3.20 +1.3 9.6                                                                      ?252C<@ *( %77D9@C6 @CA@C2E:@? !6CC#466 ,@C=5H:56 @CA@C2E:@? !# ?G6DE>6?E
       Eaton Vance Tax-Mngd Opp ETW 12.97 12.27 -5.4 20.4                                                                                 BlkRk MuniYld MI Qlty MIY 14.99 13.59 -9.3  6.8           @CA@C2E:@? :>AC@A6C=J ?2>65 2D !6CC#466 ?G6DE>6?E @CA@C2E:@? !6CC#466
                                                                                 Dreyfus Hi Yld Fd DHF 4.09 4.28 +4.6 9.4
       EtnVncTxMngGlDvEqInc EXG 10.80 10.07 -6.8 17.3                                                                                     BlRk Muyld NY Qlty MYN 13.95 13.22 -5.2     6.4           C65:E "" !6CC#466 (92C65 (6CG:46D @>A2?J "" 2?5 !6CC#466 (E@C65 &@H6C
                                                                                 DWS Hi Incm Opps Fd DHG 16.63 14.62 -12.1 7.4
                                                                                                                                          Eaton Vance CA Mun Bd EVM 12.43 11.14 -10.4 6.0           @>A2?J "" 4@==64E:G6=J L?252C<@N M=65 2 >@E:@? H:E9 E96 * ( 2?<CFAE4J @FCE
       Fiduciary/Clymr Opp Fd FMO 25.96 26.77 +3.1 10.4                          Fst Tr Hi Inc Lg/Shrt Fd FSD 19.92 17.94 -9.9 7.6                                                                  7@C E96 (@FE96C? :DEC:4E @7 $6H .@C< E96 L2?<CFAE4J @FCEN D66<:?8 2 C6A@CE 2?5
       First Opportunity Fund FOFI 11.90 9.33 -21.6 17.7                                                                                  Invesco CA Value Mun Incm VCV 13.15 12.19 -7.3
                                                                                                                                                                                      6.7
                                                                                 Neuberger Berman HYS NHS 14.92 13.65 -8.5 7.9                                                                      C64@>>6?52E:@?  </-977/8.381 +::<9@+6 90 >2/ %/>>6/7/8> 1<//7/8> ,/>A//8
       FT Energy Inc & Growth Fd FEN 34.89 32.89 -5.7 -1.4                                                                                Invesco PA Value Mun Incm VPV 14.09 13.36 -5.2
                                                                                                                                                                                      6.7           +8. +7981 >2/ 8+.+<59 3>31+>398 &<?=> >2/ '83>/. %>+>/= 90 7/<3-+ +8. 8+.+<59
                                                                                 NexPoint Credit Strat Fd NHF 12.39 11.27 -9.0 5.3
       FstTrEnhEqtIncFd FFA 15.19 13.72 -9.7 13.5                                                                                         Invesco Inv Grade NY Muni VTN 14.58 14.36 -1.5
                                                                                                                                                                                      6.9           </=96@381 >2/ +,9@/-+:>398/. +.@/<=+<C :<9-//.381 +8.  </-977/8.381 3==?+8-/ 90
                                                                                 Pioneer High Income Trust PHT 14.12 18.12 +28.3 9.2                                                                +8 384?8->398 /84938381 -/<>+38 :/<=98= 0<97 +==/<>381 +1+38=> +8C 8+.+<59 $/6/+=/.
       First Tr Engy Infr Fd FIF 24.34 21.85 -10.2 1.1                                                                                    Nuveen California AMT NKX 14.78 13.57 -8.2  6.3
                                                                                 Prudentl Sh Dur Hi Yd Fd ISD 18.86 17.80 -5.6 8.8                                                                  #+<>C 3 +8C &<?=> /<3@+>3@/ 6+37= 9< 33 +8C -6+37= A23-2 +</ .?:63-+>3@/ 90 &<?=>
       GAMCOGlblGoldNatRscs&Inc GGN 10.37 10.20 -1.6 1.8                                                                                  Nuveen CA Div Fnd NAC 15.02 14.30 -4.8      6.4           /<3@+>3@/ 6+37= +66 -+:3>+63D/. >/<7= 89> 9>2/<A3=/ ./G8/. 2/</38 =2+66 2+@/ >2/
                                                                                 Wells Fargo Adv Fund EAD 10.02 9.52 -5.0 9.1
       GAMCO Nat Rsc Gold & Incm GNT 11.31 10.54 -6.8 -4.6                                                                                NuveenCA 3 NZH                13.78 12.59 -8.6
                                                                                                                                                                                      6.5           7/+8381 += ./G8/. 38 >2/ %/>>6/7/8> 1<//7/8>
                                                                                 Wstrn Asset Glbl Hi Inco EHI 13.43 12.71 -5.4 9.3
       H&Q Healthcare HQH 26.44 25.78 -2.5 26.2                                                                                           Nuveen CA Muni Value NCA 10.16 9.98 -1.8    4.8
                                                                                 Wstrn Asset High Inco II HIX 9.45 9.38 -0.7 9.5                                                                            #'$%'!& &" & "&"!  (& & "'$&
       ING Dividend Fund IGD 10.13 9.40 -7.2 11.9                                                                                         Nuveen CA Quality Income NUC 16.01 15.40 -3.8
                                                                                                                                                                                      6.8                      G;8 7847?<A8 GB 9<?8 B5=86G<BAF GB G;8 GEBABK F8GG?8@8AG
                                                                                 Wstrn Asset Opp Fd HIO 6.51 6.02 -7.5 7.5
       ING Risk Mngd Nat Res IRR 11.92 10.75 -9.8 13.8                                                                                    Nuveen California Select NVC 15.73 14.92 -5.1
                                                                                                                                                                                      6.9                       $ !& % *        &  #  %&$!
                                                                                 West Asst HY Def Opp Fd HYI 19.57 18.03 -7.9 8.6
                                                                                                                                          NuveenMDPremium IncomeNMY 14.43 12.64 -12.4 5.4                      4 ;84E<A: BA G;8 @BG<BA 4A7 4AL B5=86G<BAF G<@8?L 9<?87
       John Hancock Finl Opps Fd BTO 24.04 22.93 -4.6 16.9                       Wstrn Asset Mngd High Inc MHY 6.30 5.81 -7.8 7.7                                                                               % ! %' "$ *          &    %&$! &
       Kayne Anderson Enrgy Dev KED NA.00 33.07 NA 34.4                                                                                   Nuveen NJ Investment Qual NQJ 15.09 13.59 -9.9
                                                                                                                                                                                      6.0
                                                                               Other Domestic Taxable Bond Funds                                                                                                & '% !$'#&* "'$& "$ & %"'&$! %&$& " !(
       Kayne Energy TR Fd KYE 30.49 28.02 -8.1 1.3                                                                                        Nuveen Pa Investment Qual NQP 15.15 13.76 -9.2
                                                                                                                                                                                      5.9                       *"$ % $%% "(
                                                                                 Babson Cap Corp Inv MCI NA.00 15.06 NA 7.9
       Kayne Andrsn MLP Inv KYN 35.81 36.64 +2.3 12.2                                                                                     Nuveen VA Premium Income NPV 14.16 12.92 -8.8
                                                                                                                                                                                      5.6
                                                                                 BlackRock Build Am Bd Tr BBN 22.34 20.35 -8.9 7.8                                                                  <3/0 $/-3>+>398 90 +->=
       Kayne Andrsn Midstr Engy KMF 38.90 35.12 -9.7 6.5                                                                                  Pimco Calif Fund PCQ NA.00 14.26 NA         6.6
                                                                                 Doubleline Oppor Credit DBL NA.00 23.15 NA 8.6                                                                     %? 2?F2CJ             )C@?@I ?4@CA@C2E65 2?5 46CE2:? @7 :ED 27M=:2E6D 4@==64E:G6=J E96


                                                                                                                                                                                                                                                                                                            ADVERTISE
       Macquarie Glbl Infrstrctr MGU 27.07 24.16 -10.7 17.6                                                                               PimcoCA PCK                   NA.00 9.37 NA 7.6           L63E@CDN 4@>>6?465 492AE6C           42D6D E96 L92AE6C      2D6DN :? E96 2?<CFAE4J
                                                                                 Duff & Phelps Utl & Cp Bd DUC 10.99 10.44 -5.0 10.8
       NASDAQPremInc&GrowthQQQX 17.96 NA.00 NA NA                                EtnVncLtdFd EVV               16.52 15.40 -6.8 8.0                                                  NAV            @FCE %? $@G6>36C               E96 2?<CFAE4J @FCE 4@?MC>65 E96 63E@CD &=2? %?
       Neubrgr Brm Rl Est Sec Fd NRO 5.67 4.80 -15.3 -4.9                                                                                                                      Prem   Ttl           63CF2CJ            E96 &=2? 3642>6 67764E:G6 ? E96 92AE6C            2D6D E96 *?:E65
                                                                                 Franklin Templeton FTF NA.00 13.30 NA 6.7               Fund (SYM)                  NAV Close /Disc Ret            (E2E6D @E96C 8@G6C?>6?E2= 6?E:E:6D 2?5 @E96C &6CD@?D M=65 &C@@7D @7 =2:> 282:?DE E96
       Nuveen Engy MLP Fd JMF 20.96 19.75 -5.8 2.9                               Guggenh Bond Mneg Dur Tr GBAB 22.49 21.00 -6.6 7.9                                                                 63E@CD @? 244@F?E @7 2>@?8 @E96C E9:?8D 2==6865 6?G:C@?>6?E2= 4=2:>D @3=:82E:@?D


                                                                                                                                                                                                                                                                                                            TODAY
       Nuveen Eqty Prm Adv Fd JLA 13.94 12.92 -7.3 11.3                          MFS Charter MCR               10.31 9.27 -10.1 6.5      General Equity Funds                                       2?5 @C =:23:=:E:6D 2E 46CE2:? @7 E96 @G6C65 (:E6D +2C:@FD E@CE 4=2:>2?ED M=65 &C@@7D @7
       Nuveen Eqty Prem Inco Fd JPZ 13.75 12.77 -7.1 8.1                         MFS Multimkt MMT               7.43 6.62 -10.9 6.7        Franklin Mutual Rec:A 12.44 NA.00 NA              20.7   =2:> 282:?DE E96 63E@CD @? 244@F?E @7 2==6865 E@CE =:23:=:E:6D :?4=F5:?8 7@C A6CD@?2=
                                                                                                                                                                                                    :?;FCJ 2?5 AC@A6CEJ 52>286 )9@D6 4=2:>D H6C6 @C H:== 36 C6D@=G65 AFCDF2?E E@ E96 &=2?
       Nuv Eqty Prm Opp Fd JSN 13.51 12.61 -6.7 8.4                              Nuveen Build Am Bd Fd NBB 21.71 19.89 -8.4 7.1            Recov Adv                12.53 NA.00 NA           21.0   C6=2E65 E@CE 2?5 6?G:C@?>6?E2= 28C66>6?ED E96 ":E:82E:@? )CFDE 8C66>6?E L")N
       Nuveen Real Estate Fd JRS 10.97 10.73 -2.2 -7.3                           PIMCO Corporate & Incm PTY 15.41 18.32 +18.9 8.2          RecoveryC                12.27 NA.00 NA           19.8   2?5 @E96C AC:@C AC@4665:?8D @7 E96 2?<CFAE4J @FCE
       Petroleum & Resources PEO 34.01 28.91 -15.0 22.0                          PIMCO Corporate & Incm PCN 15.47 16.53 +6.9 7.9         Specialized Equity Funds                                   )96C6 2C6 EH@ 4@>A=2:?ED 282:?DE ?252C<@ 4FCC6?E=J 36:?8 ;@:?E=J =:E:82E65 :? )C@?@I
                                                                                                                                           Resource RE Div Inc       9.72 NA.00 NA            0.4   ?4  6E 2= G !6CC#466 @CA@C2E:@? 6E 2= ? C6 )C@?@I ?4  5G &C@4 $@  
       Reaves Utility Fund UTG NA.00 28.72 NA 10.3                               PIMCO HiInco PHK               8.33 12.72 +52.7 11.6                                                               2?<C (  $ . 
       Tortoise Engy Cap TYY NA.00 34.27 NA 9.0                                  PIMCO Inco Str Fd PFL 12.06 11.97 -0.7 9.2                SharesPost 100           20.56 NA.00 NA            NS            E96 (64@?5 >6?565 5G6CD2CJ @>A=2:?E 0H9:49 :D M=65 2E 2D6 $@  
       Tortoise Engy Ind Fd NDP NA.00 25.87 NA 13.9                              Pimco Inco Strat Fd II PFN 10.78 10.57 -1.9 9.2           Tot Inc+ RE:C            NA.00 NA.00 NA            NS            " <E $@ 1 2?5
       Tortoise Energy TYG NA.00 47.38 NA 10.5                                                                                             Tot Inc+ RE:I            NA.00 NA.00 NA            NS            E96 @>A=2:?E:??E6CG6?E:@? M=65 3J E96 *?:E65 (E2E6D 0H9:49 :D M=65 2E 2D6
                                                                                 Putnam Mas Inco PIM 5.68 5.13 -9.7 6.0                                                                                     $@   " <E $@  1
       Tortoise MLP Fund NTG NA.00 27.10 NA 0.5                                  Putnam Premier PPT             6.16 5.57 -9.6 5.6         Versus Cap MMgr RE Inc 25.34 NA.00 NA              3.1
                                                                                                                                                                                                    )96 &=2? ") 2?5 ?G:C@?>6?E2= (6EE=6>6?E 8C66>6?E 2DD:8?65 2D AC@G:565 :? E96
     Income Preferred Stock Funds                                                Wells Fargo Multi Sctr ERC 16.38 14.69 -10.3 8.2          Versus Cap MMgr RE Inc:I 25.37 NA.00 NA            3.9   @?MC>2E:@? %C56C 2?5 E96 ") 2== @7 E96 63E@CD C6DA64E:G6 C:89ED 2?5 :?E6C6DED :?
       Calamos Strat Fd CSQ 12.21 11.23 -8.0 14.9                              World Income Funds                                        Income Preferred Stock Funds                               E96 5G6CD2CJ &C@4665:?8 6I4=F5:?8 E96 @>A=2:?E:??E6CG6?E:@? H9:49 :?4=F56D 2?J
                                                                                                                                           MultiStrat Gro & Inc     16.80 NA.00 NA            9.1   4=2:>D @C 42FD6D @7 24E:@? @7 E96 63E@CD C6=2E65 E@ E96 5G6CD2CJ &C@4665:?8 H96E96C
       Cohen & Steers Dur Pfd LDP 26.58 24.40 -8.2 0.0                           Abeerden Asia-Pacific FAX 6.74 6.23 -7.6 5.6                                                                       @C ?@E 2DD6CE65 :? E96 5G6CD2CJ &C@4665:?8 E@ E96 ":E:82E:@? )CFDE 7@C E96 36?6ME @7
                                                                                                                                         World Equity Funds
       Cohen & Strs Sel Prf Inco PSF 27.62 25.69 -7.0 1.6                        Etn Vnc Short Dur Fd EVG 16.66 15.28 -8.3 7.1                                                                      E96 6?E:E:6D =:DE65 :? (64E:@? 5 @7 E96 ") H9:49 :?4=F56 E96 )@CE =2:>D )CFDE E96
       Flaherty & Crumrine Pfd FFC 19.15 19.82 +3.5 1.1                                                                                    BMO Lloyd George FM 10.20 NA.00 NA                 NS    :>2CC@? ?G:C@?>6?E2= '6DA@?D6 )CFDE E96 #F=E:DE2E6 ?G:C@?>6?E2= '6DA@?D6 )CFDE
                                                                                 First Tr/Abrdn Glbl Opp FAM 15.38 14.19 -7.7 10.0
                                                                                                                                           EGA Frontier Dvsfd Core 28.60 NA.00 NA             NS    E96 $6G252 ?G:C@?>6?E2= '6DA@?D6 )CFDE E96 (2G2??29 ?G:C@?>6?E2= '6DA@?D6
       John Hancock Pfd Income HPI 21.11 20.11 -4.7 -7.9                         Global High Income Fd GHI 11.36 10.03 -11.7 8.4
                                                                                                                                         U.S. Mortgage Bond Funds                                   )CFDE 4@==64E:G6=J 2=@?8 H:E9 E96 ,6DE 9:428@ ?G:C@?>6?E2= '6DA@?D6 )CFDE E96
       John Hancock Pfd II HPF 21.07 20.25 -3.9 -5.8                             Legg Mason BW Glbl Incm BWG 20.14 17.62 -12.5 9.9                                                                  L?G:C@?>6?E2= 2?5 )@CE )CFDEDN 2?5 46CE2:? 8@G6C?>6?E2= 6?E:E:6D E92E 925 2DD6CE65
                                                                                                                                           Vertical Capital Income 11.05 NA.00 NA             4.7
       John Hancock Pfd Inc III HPS 18.57 17.66 -4.9 -3.8                        MS EmMktDomDebt EDD 14.57 13.15 -9.7 8.5                                                                           2?<CFAE4J ?G:C@?>6?E2= =2:>D 282:?DE E96 63E@CD 4@==64E:G6=J L":E:82E:@? )CFDE
                                                                                                                                         Loan Participation Funds                                   6?6M4:2C:6DN
       JHancock Pr Div PDT           14.80 13.20 -10.8 0.0                       MS Emerging Mkts Debt MSD NA.00 10.10 NA 5.9              ING Senior Income:A 13.41 NA.00 NA                 5.8   &FCDF2?E E@ E96 &=2? ") ?G:C@?>6?E2= (6EE=6>6?E 8C66>6?E 2?5 ?G:C@?>6?E2=
       LMP Cap & Inco Fd SCD 18.19 16.35 -10.1 7.2                               Nuveen Div Currency Opp JGT 12.34 10.71 -13.2 9.2         ING Senior Income:B 13.37 NA.00 NA                 5.3   2?5 )@CE )CFDE 8C66>6?ED @E96C E92? E96 ,6DE 9:428@ ?G:C@?>6?E2= '6DA@?D6 )CFDE
       Nuveen Preferred & Incm JPI 25.14 23.34 -7.2 1.7                          PIMCO Dynamic Income Fund PDI 32.50 32.05 -1.4 11.2       ING Senior Income:C      13.38 NA.00 NA            5.3   8C66>6?E E96 ":E:82E:@? )CFDE 6?6M4:2C:6D 2?5 36?6M4:2C:6D @7 E96 ?G:C@?>6?E2=
       Nuveen Preferred Inc Opp JPC 10.48 9.49 -9.4 -1.2                         PIMCO Income Opportunity PKO 28.37 28.73 +1.3 10.2                                                                 2?5 )@CE )CFDED E@86E96C H:E9 E96 ":E:82E:@? )CFDE 6?6M4:2C:6D E96 L6?6M4:2C:6DN
                                                                                                                                           ING Senior Income:I      13.38 NA.00 NA            6.1   2C6 6?E:E=65 E@ 92G6 A2:5 @? 244@F?E @7 E96:C 2?<CFAE4J ?G:C@?>6?E2= =2:>D 2?5
       Nuveen Quality pf JTP 9.13 8.30 -9.1 -1.8                                 PIMCO Strat Income Fund RCS 9.14 10.35 +13.2 10.9         ING Senior Income:W 13.42 NA.00 NA                 6.0   2?<CFAE4J )@CE =2:>D DA64:M65 2==@42E:@?D @7 2 D92C6 @7 E96 ?6E AC@4665D @7 2?J
       Nuveen Fd2 JPS                 9.75 8.86 -9.1 -1.0                        Stone Harbor Em Mkts Fd EDF 19.98 19.12 -4.3 11.7         Invesco Sr Loan A         6.99 NA.00 NA            5.7   C64@G6CJ 7C@> E96 5G6CD2CJ &C@4665:?8
       TCW Strategic Inco Fund TSI 5.92 5.45 -7.9 -2.3                           Templeton Emerging TEI 14.11 14.37 +1.8 8.8               Invesco Sr Loan B         7.01 NA.00 NA            5.7   %? 646>36C              E96 2?<CFAE4J @FCE :DDF65 :ED #6>@C2?5F> %A:?:@? 7E6C
       Zweig Total Return ZTR 15.39 14.02 -8.9 16.8                              Templeton Global GIM 8.43 7.88 -6.5 8.2                                                                            )C:2= M?5:?8 E96 ?252C<@ )C:2= 676?52?ED =:23=6 F?56C E96 (64@?5 >6?565 5G6CD2CJ
                                                                                                                                           Invesco Sr Loan C         7.00 NA.00 NA            4.9   @>A=2:?E 7@C 24EF2= 2?5 4@?DECF4E:G6 7C2F5F=6?E 4@?G6J2?46D 3FE ?@E =:23=6 7@C 3C6249
     Convertible Sec's. Funds                                                    Wstrn Asset Emerg Mkts ESD 19.51 17.76 -9.0 8.2           Invesco Sr Loan IB        7.00 NA.00 NA            5.9   @7 M5F4:2CJ 5FEJ )96 64:D:@? :D ?@E 2 M?2= ;F58>6?E 2?5 E96 2?<CFAE4J @FCE 5:5 ?@E
       AdvntClymrFd AVK              19.83 18.34 -7.5 11.6                       Wstrn Asset Emerg Mkt II EMD 13.85 12.64 -8.7 8.2         Invesco Sr Loan IC        7.00 NA.00 NA            5.8   6?E6C M?2= ;F58>6?E
       AllianzGI Conv & Incm NCV 9.38 10.29 +9.7 22.8                            Wstrn Asset Gl Def Opp Fd GDO 20.49 18.62 -9.1 7.6        Invesco Sr Loan Y         7.00 NA.00 NA            NS    %? AC:=        E96 &2CE:6D 6?E6C65 :?E@ E96 (6EE=6>6?E 8C66>6?E E92E C6D@=G6D E96
                                                                                                                                                                                                    5G6CD2CJ &C@4665:?8 2?5 AC@G:56D 7@C C6=62D6D 4@G6?2?ED ?@E E@ DF6 +8. >2/ 3==?+8-/
       AllianzGI Conv & Incm II NCZ 8.44 9.82 +16.4 27.3                       National Muni Bond Funds                                  Other Domestic Taxable Bond Funds                          90 +8 384?8->398 ,C + '% 3=><3-> 9?<> /84938381 -/<>+38 :/<=98= 0<97 +==/<>381 &<?=>
       AllianzGI Equity & Conv NIE 22.48 19.76 -12.1 16.3                        AllianceBrnstn NtlMun AFB 14.23 13.83 -2.8 6.5            BlkRkFxdIncValOp        660.30 NA.00 NA           56.1   /<3@+>3@/ 6+37= +8. +8C -6+37= >2+> +</ .?:63-+>3@/ 90 =?-2 &<?=> /<3@+>3@/ 6+37= +=
       Calamos Conv Hi Inco Fd CHY 14.19 13.87 -2.3 16.4                         Blackrock Invest BKN 15.34 14.81 -3.5 6.6                 Capstone Church Capital 17.84 NA.00 NA             2.4   ./G8/. 38 >2/ %/>>6/7/8> 1<//7/8>
       Calamos CHI                   13.40 13.73 +2.5 17.9                       BlackRockMuni 2020 BKK 16.21 16.44 +1.4 5.5               GL Beyond Income         NA.00 NA.00 NA            9.8   %? AC:=          E96 *?:E65 (E2E6D =@5865 E96 (6EE=6>6?E 8C66>6?E H:E9 E96


                                                                                                                                                                                                                                                                                                            (800) 366-3975
                                                                                                                                                                                                    2?<CFAE4J @FCE %? 2AAC@I:>2E6=J AC:=               E96 *?:E65 (E2E6D H:== AF3=:D9 2
                                                                                                                                                                                                    ?@E:46 7@C AF3=:4 4@>>6?E E96C6@? :? E96 656C2= '68:DE6C
                                                                                                                                                                                                    %? AC:=           E96 ":E:82E:@? )CFDE 2?5 ?252C<@ M=65 2 >@E:@? E96 L 
       Borrowing Benchmarks                                                                                                                                                                         '64@>>6?52E:@? #@E:@?N H:E9 E96 2?<CFAE4J @FCE D66<:?8 E96 '6A@CE 2?5
                                                                                                                                                                                                    '64@>>6?52E:@?
                                                                                                                                                                                                    )96 (6EE=6>6?E 8C66>6?E D6EE=6D 4@>AC@>:D6D C6D@=G6D 2?5 4=@D6D E96 5G6CD2CJ
                                                                                                                                                                                                    &C@4665:?8 2?5 D6EE=6D 4@>AC@>:D6D C6D@=G6D 2?5 6IE:?8F:D96D E96 )CFDE 6C:G2E:G6

     Money Rates                                                                                                                                                            April 25, 2014
                                                                                                                                                                                                    =2:>D 2?J 4=2:>D E92E H6C6 2DD6CE65 @C E92E 4@F=5 92G6 366? 2DD6CE65 :? E96 (64@?5
                                                                                                                                                                                                    >6?565 5G6CD2CJ @>A=2:?E 2?5 E96 4=2:>D 2DD6CE65 :? E96 @>A=2:?E:??E6CG6?E:@?
                                                                                                                                                                                                    2?5 E96 4=2:>D E92E 4@F=5 92G6 366? 2DD6CE65 :? E96 @>A=2:?E:??E6CG6?E:@? C6=2E:?8
                                                                                                                                                                                                                                                                                                            sales.legalnotices
                                                                                                                                                                                                                                                                                                            @wsj.com
                                                                                                                                                                                                    E@ E96 DF3;64E >2EE6C @7 E96 5G6CD2CJ &C@4665:?8 E@86E96C 2?5 @? 2 8=@32= 32D:D E@ E96
     Key annual interest rates paid to borrow or lend money in U.S. and international markets. Rates below are a guide                                                                              6IE6?E AC@G:565 :? E96 (6EE=6>6?E 8C66>6?E &FCDF2?E E@ E96 (6EE=6>6?E 8C66>6?E
     to general levels but don’t always represent actual transactions.                                                                                                                              H:E9:? EH@ FD:?6DD 2JD 27E6C E96 7764E:G6 2E6 ?252C<@ D92== 42FD6 E@ 36 A2:5 E@
                                                                                                                                                                                                    E96 ":E:82E:@? )CFDE   3:==:@? A=FD ?E6C6DE )96 ":E:82E:@? )CFDE D92== 42FD6 E96
                                                                                                            Week        —52-WEEK—                                     Week          —52-WEEK—       (6EE=6>6?E &C@4665D E@ 36 2==@42E65 2?5 5:DEC:3FE65 E@ E96 ":E:82E:@? )CFDE 6?6M4:2C:6D
     Inflation                                                                                       Latest ago         High   Low                             Latest ago           High   Low      4@?D:DE6?E H:E9 E96 ") )96 ":E:82E:@? )CFDE DF4466565 E@ 2D @7 2?5 27E6C E96 &=2?
                             March index            CHG FROM (%)               180 days               0.38    0.38     0.38     0.38     Five year             1.806    1.836      1.994    0.813   7764E:G6 2E6 2?J 2?5 2== 4=2:>D 282:?DE E96 ?252C<@ '6=62D65 &2CE:6D C6=2E65 E@ E96
                                  level             Feb. '14 March '13                                                                                                                              4=2:>D :DDF6D 2?5 DF3;64E >2EE6C @7 E96 5G6CD2CJ &C@4665:?8 H9:49 H6C6 96=5 @H?65
                                                                                                                                         Ten year              2.778    2.845      3.165    1.814

                                                                                                                                                                                                                                                                                                            Place an ad with the
                                                                                                                                                                                                    2?5 @C 4@?EC@==65 3J @?6 @C >@C6 63E@CD 367@C6 E96 &=2? 7764E:G6 2E6 (:?46 E96 &=2?
                                                                               Other short-term rates                                    20 year               3.333    3.414      3.801    2.586   7764E:G6 2E6 E96 ":E:82E:@? )CFDE 92D ?@E D@=5 2DD:8?65 EC2?D76CC65 6?4F>36C65
     U.S. consumer price index                                                                                                           30 year               3.437    3.519      3.939    2.767   9JA@E9642E65 232?5@?65 4@?G6J65 @C @E96CH:D6 5:DA@D65 @7 2?J 4=2:>D C646:G65 3J E96
     All items                    236.293              0.64           1.5                                                                                                                           ":E:82E:@? )CFDE 7C@> 63E@CD AFCDF2?E E@ E96 &=2?

                                                                                                                                                                                                                                                                                                            self-service tool at:
     Core                         236.913              0.35           1.7                                  Week          52-WEEK         Euro Libor                                                 #<9:9=/. #/<7+8/8> 84?8->398
                                                                                                    Latest ago         high    low                                                                  &2/ 79@+8>= 2+@/ </;?/=>/. >2+> >2/ 09669A381 :/<7+8/8> 384?8->398 ,/ 3==?/. ,C >2/
                                                                                                                                         One month             0.242    0.221      0.242    0.056   3=><3-> 9?<>
     International rates                                                       Call money                                                Three month           0.311    0.292      0.311    0.114   F#?<=?+8> >9  '% EE     E + 90 >2/ +85<?:>-C 9./ +8. +85<?:>-C
                                                                                                                                                                                                    $?6/=        +8.   3 +8C /,>9<= 33 +8C -</.3>9< 90 +8C /,>9< A29 G6/. 9<

                                                                                                                                                                                                                                                                                                            wsj.com/classifieds
                                                                                                      2.00    2.00     2.00     2.00     Six month             0.408    0.387      0.408    0.195
                                          Week             52-WEEK                                                                                                                                  -9?6. 2+@/ G6/. + -6+37 38 >2/ 2+:>/<         +=/= 333 +8C 9>2/< #/<=98 A29=/ -6+37
                                                                                                                                         One year              0.574    0.551      0.574    0.371    38 +8C A+C +<3=/= 0<97 9< 3= </6+>/. >9 >2/ .@/<=+<C #<9-//.381  3= + &<?=>
                            Latest       ago            High     Low
                                                                               Commercial paper                                                                                                     /<3@+>3@/ 6+37 9<  3= .?:63-+>3@/ 90 + &<?=> /<3@+>3@/ 6+37 +8. 3@ +8C #/<=98
                                                                                                                                         Euro interbank offered rate (Euribor)                      +->381 9< :?<:9<>381 >9 +-> += +8 +>>9<8/C 09< +8C 90 >2/ :</-/.381 3= 2/</,C :/<7+8/8>6C
     Prime rates                                                               30 to 37 days          0.05       ...      ...      ...
                                                                                                                                                                                                    /84938/. 0<97 +==/<>381 +1+38=> +8C 8+.+<59 $/6/+=/. #+<>C  +8C &<?=> /<3@+>3@/
                                                                               39 to 44 days          0.05       ...      ...      ...   One month             0.269    0.246      0.269    0.112
     U.S.                     3.25         3.25        3.25         3.25                                                                                                                            6+37= 9<  +8C -6+37= >2+> +</ .?:63-+>3@/ 90 &<?=> /<3@+>3@/ 6+37= A2/>2/< 9< 89>
                                                                               45 to 45 days          0.06       ...      ...      ...   Three month           0.344    0.328      0.344    0.198   2/6. 9< -98><966/. ,C >2/ 3>31+>398 &<?=> 9< A2/>2/< 9< 89> >2/ 3>31+>398 &<?=> -9?6.
     Canada                   3.00         3.00        3.00         3.00
                                                                               47 to 59 days          0.06       ...      ...      ...   Six month             0.443    0.426      0.443    0.293   2+@/ +==/<>/. =?-2 -6+37= +1+38=> +8C 8+.+<59 $/6/+=/. #+<>C &2/ 384?8->398 2/</38
     Euro zone                0.25         0.25        0.75         0.25
                                                                               60 to 89 days          n.q.       ...      ...      ...   One year              0.619    0.599      0.619    0.224   =2+66 89> +::6C >9 9< ,+< >2/ 09669A381 3 +8C -<3738+6 63+,363>C 33 +8C 63+,363>C +<3=381
     Japan                   1.475        1.475       1.475        1.475                                                                                                                            ?8./< &3>6/  90 >2/ '83>/. %>+>/= 9./ 8>/<8+6 $/@/8?/ 9./ 9< =>+>/ >+B 6+A= 333
     Switzerland              0.50         0.50        0.51         0.50       90 to 119 days         0.10       ...      ...      ...                                                              +8C 63+,363>C +<3=381 ?8./< 0/./<+6 9< =>+>/ =/-?<3>3/= 6+A= 3@ +8C +->398 >9 /809<-/ +
                                                                                                                                         Hibor
     Britain                  0.50         0.50        0.50         0.50       120 to 149 days        0.14       ...      ...      ...                                                              -9@/8+8> 89> >9 =?/ </6/+=/ 9< +1<//7/8> 89> >9 =//5 </37,?<=/7/8> -98>+38/. 38
     Australia                2.50         2.50        3.00         2.50       150 to 179 days        0.15       ...      ...      ...   One month             0.206    0.209      0.250    0.205   >2/ %/>>6/7/8> 1<//7/8> @ +8C 63+,363>C >2+> +8 8+.+<59 $/6/+=/. #+<>C 7312>
                                                                               180 to 209 days        0.18       ...      ...      ...   Three month           0.371    0.371      0.386    0.324   2+@/ >2+> .9/= 89> +<3=/ 0<97 9< >2<9?12 + 63+,363>C 90 + /,>9< @3 +8C 63+,363>C 90 +8
     Overnight repurchase                                                                                                                Six month             0.549    0.547      0.551    0.384   8+.+<59 $/6/+=/. #+<>C .?/ >9 3>= =>+>?= 9< +->= 9< 973==398= =38-/ !9@/7,/<               
                                                                               210 to 216 days        0.19       ...      ...      ...                                                              += ++8  9A8/<  9:/<+>9<  .3=-2+<1/<  6/==//  :/<73>>//  63-/8=//
     U.S.                     0.05         0.07         0.24        -0.03      218 to 239 days        0.19       ...      ...      ...   One year              0.864    0.864      0.875    0.412    :/<=98 38 -2+<1/  296./< 90 + <312> 90 ?=/ +8. /+=/7/8>  +<<+81/< 09< .3=:9=+6
     Euro zone                0.25         0.20         0.36         0.02      240 to 270 days        0.20       ...      ...      ...                                 Value         52-WEEK        9< ></+>7/8>  ><+8=:9<>/< 9<  :/<=98 A29 1/8/<+>/= 2+8.6/= ><+8=:9<>= ></+>=
                                                                                                                                                                                                    =>9</= 9< .3=:9=/= 90 =963. 9< 2+D+<.9?= A+=>/ @33 +8C 63+,363>C </6+>381 >9 >2/ #
                                                                                                                                                            Latest     Traded      High    Low      ?=38/== 9< >2/ =>9</. :9A/< 9< ,+>>/<C ,?=38/== 38-6?.381 ,?> 89> 6373>/. >9 +=
     U.S. government rates                                                     Commercial paper (AA financial)
                                                                                                                                                                                                    9A8/. 9< 9:/<+>/. ,C '% @/=>9<  +8. /<< -// %>9</. #9A/< 97:+8C  
                                                                               90 days                0.10    0.12     0.26     0.06     DTCC GCF Repo Index                                        +8. @333 +8C 63+,363>C >2+> +8C 8+.+<59 $/6/+=/. #+<>C </>+38/. </-/3@/. 9< +==?7/.
     Discount                                                                                                                            Treasury          0.056       92.716 0.255 0.010           :?<=?+8> >9 >2/ ==3187/8> 1<//7/8> 9< ==3187/8> ==?7:>398 +8. 8./783>C
                                                                               Euro commercial paper                                                                                                1<//7/8> 9< >2/ +@93.+8-/ 90 .9?,> >9 >2/ /B>/8> >2+> + 63+,363>C 90 +8 8+.+<59
                              0.75         0.75         0.75         0.75                                                                MBS               0.076       81.202 0.286 0.019           $/6/+=/. #+<>C /B-6?./. 0<97 >2/ 384?8->398 2/</38 ,C >2/ :</-/.381 =/8>/8-/ A9?6. ,/
                                                                               30 day                 n.q.     n.q.    0.01     0.01                                                                + 63+,363>C 09< A23-2 =?-2 8+.+<59 $/6/+=/. #+<>C A9?6. ,/ 4938>6C +8. =/@/<+66C 63+,6/
                                                                               Two month                       n.q.    0.22     0.01                                           Open Implied
     Federal funds                                                                                    n.q.                                                                                          A3>2 9>2/<= 38-6?.381 ,?> 89> 6373>/. >9 98/ 9< 79</ /,>9<= 9< $/9<1+83D/. /,>9<=
                                                                                                                                                               Settle Change Interest Rate          ?8./< +::63-+,6/ 6+A 89>2381 38 >23= 384?8->398 3= 38>/8./. >9 +6>/< +8C =?-2 +::63-+,6/
                                                                               Three month            n.q.     n.q.    0.24     0.05
     Effective rate        0.1200 0.1300            0.1800 0.0600                                                                                                                                   :<38-3:6/= 90 4938> +8. =/@/<+6 63+,363>C A2/</ 9>2/<A3=/ :<9@3./. ,C 6+A &2/ 384?8->398
     High                  0.3125 0.3125            0.5160 0.2800              Four month             0.25     n.q.    0.26     0.09     DTCC GCF Repo Index Futures                                2/</38 .9/= 89> +::6C >9 >2/ 3>31+>398 &<?=> +8. >2/ '83>/. %>+>/= A23-2 +</ :<9@3.381
     Low                   0.0500 0.0700            0.3000 0.0100              Five month             0.27     n.q.    0.28     0.11     Treasury Apr        99.933 unch. 14915 0.067               </6/+=/= +8. -9@/8+8>= 89> >9 =?/ 38 >2/ %/>>6/7/8> 1<//7/8>H
     Bid                   0.0500 0.0500            0.5000 0.0000              Six month              0.29     n.q.    0.29     0.14     Treasury May        99.940 0.005 5778 0.060                #% & '$&$ !"& E92E @3;64E:@?D E@ E96 #@E:@? :7 2?J D92== 36 :? HC:E:?8
                                                                                                                                                                                                    D92== 4@?7@C> E@ E96 656C2= 'F=6D @7 2?<CFAE4J &C@465FC6 2?5 E96 "@42= 'F=6D @7 E96
     Offer                 0.2800 0.2800            0.2800 0.0500              London interbank offered rate, or Libor                   Treasury Jun        99.940 unch. 16687 0.060               2?<CFAE4J @FCE 7@C E96 (@FE96C? :DEC:4E @7 $6H .@C< D92== D6E 7@CE9 E96 ?2>6 @7 E96
                                                                                                                                                                                                    @3;64E:?8 A2CEJ E96 32D:D 7@C E96 @3;64E:@? 2?5 E96 DA64:M4 8C@F?5D E96C6@7 D92== 36
     Treasury bill auction                                                     One month       0.15200 0.15220 0.19920 0.15040                                 LATEST       Week      52-WEEK       M=65 H:E9 E96 2?<CFAE4J @FCE 6=64EC@?:42==J :? 244@C52?46 H:E9 6?6C2= %C56C # 
     4 weeks                     0.015 0.025 0.350 0.000                       Three month     0.22660 0.22585 0.27675 0.22585                              Offer Bid        ago     high   low     H9:49 42? 36 7@F?5 2E HHH ?JD3 FD4@FCED 8@G 3J C68:DE6C65 FD6CD @7 E96 2?<CFAE4J
     13 weeks                    0.030 0.035 0.130 0.010                       Six month       0.32300 0.31980 0.43040 0.31980                                                                      @FCED 42D6 M=:?8 DJDE6> 2?5 3J 2== @E96C A2CE:6D :? :?E6C6DE 2?5 D92== 36 D6CG65 FA@?
     26 weeks                    0.050 0.050 0.150 0.030                       One year        0.54950 0.54650 0.71050 0.54550           Eurodollars (mid rates)                                     677C6J /6:86C !:C<=2?5  ==:D ""&  $ "2(2==6 9:428@ "   @9?  F6DE@?
                                                                                                                                                                                                    ":E:82E:@? )CFDE66 C6==  #2?6==2 ""&  G6?F6 @7 E96 (E2CD (F:E6   "@D ?86=6D
                                                                                                                                         One month          0.10     0.20   0.15    0.19 0.15          )9@>2D "@EE6C>2? :?892> #4FE496? ""&                ! (EC66E $, ,2D9:?8E@?
                                                                               Libor Swaps (USD)                                         Two month          0.12     0.25   0.19    0.19 0.19                  !6??6E9 !=66 !=66 )F49:? @852?@77  (E6C? ""&  G6?F6 @7 E96
     Secondary market                                                                                                                                                                               (E2CD E9 =@@C "@D ?86=6D    2?5 '@36CE .2=6? *( * ( EE@C?6JD %7M46
                                                                               Two year             0.538 0.549 0.665 0.338              Three month        0.15     0.30   0.23    0.25 0.23
                                                                               Three year           1.002 1.016 1.113 0.431              Four month         0.20     0.30   0.25    0.38 0.25        ($.  92>36CD (E  C5 =@@C $6H .@C< $.          =9 += >9 ,/ =9 G6/. +8. </-/3@/.
     Freddie Mac                                                                                                                                                                                    ,C 89 6+>/< >2+8 +C            +>  :7 #</@+36381 +=>/<8 &37/
                                                                                                                                         Five month         0.20     0.35   0.28    0.33 0.28       #% & '$&$ !"& E92E @?=J E9@D6 C6DA@?D6D @C @3;64E:@?D E92E 2C6 E:>6=J
     30-year mortgage yields
                                                                                                                                         Six month          0.25     0.50   0.38    0.53 0.38       M=65 D6CG65 2?5 C646:G65 H:== 36 4@?D:56C65
     30 days            n.a.                   n.a.       n.a.        n.a.     Notes on data:                                                                                                       #% & '$&$ !"& E92E E96 @?@C23=6 ==2? " C@AA6C @7 E96 * (
     60 days            n.a.                   n.a.       n.a.        n.a.     U.S. prime rate is effective December 16, 2008. Discount rate is effective February 19, 2010. U.S. prime             2?<CFAE4J @FCE 7@C E96 (@FE96C? :DEC:4E @7 $6H .@C< 92D D4965F=65 2 962C:?8 E@
                                                                                                                                                                                                    255C6DD E9:D >2EE6C @? *                 &    "! "(! $! !(
                                                                               rate is the base rate on corporate loans posted by at least 70% of the 10 largest U.S. banks; Other prime            *"$ !*           
     Fannie Mae
                                                                               rates aren’t directly comparable; lending practices vary widely by location; Discount rate is the charge on          #% & '$&$ !"& E92E 2?J @3;64E:?8 A2CE:6D 2C6 C6BF:C65 E@ 2EE6?5 E96
     30-year mortgage yields                                                   loans to depository institutions by the New York Federal Reserve Banks; Federal-funds rate is on                     962C:?8 2?5 E92E 72:=FC6 E@ 2AA62C >2J C6DF=E :? C6=:67 36:?8 8C2?E65 FA@? 5672F=E
     30 days          3.899 3.905 4.350 2.914                                  reserves traded among commercial banks for overnight use in amounts of $1 million or more; Call money
                                                                                                                                                                                                     "$ "$ !"$ &"! "$ &" %% & %&& !& $ !& !
     60 days          3.939 3.943 4.396 2.941                                  rate is the charge on loans to brokers on stock-exchange collateral; Commercial Paper (AA financial) is               $& "' !&% A=62D6 42== 7C@> E96 * ( 2?5 2?252    @C 42==
                                                                               from the Federal Reserve and is presented with a one-day lag. Libor is the British Bankers’ Association               7@C C6>2:?:?8 :?E6C?2E:@?2= 42==6CD     @C G:D:E 9EEA HHH <44==4 ?6E
     Bankers acceptance                                                        average of interbank offered rates for dollar deposits in the London market; Libor Swaps quoted are mid-              )C@?@I!6CC#466(6EE=6>6?E
     30 days                       0.15       0.15        0.23       0.15      market, semi-annual swap rates and pay the floating 3-month Libor rate. DTCC GCF Repo Index is                        &C@G:565 9@H6G6C E92E 2D :E C6=2E6D E@ !6CC#466 (E@C65 &@H6C @>A2?J ""                                       © 2014 Dow Jones & Company, Inc.
     60 days                       0.19       0.19        0.28       0.19      Depository Trust & Clearing Corp.'s weighted average for overnight trades in applicable CUSIPs. Value                DF3A2CE G:: :D 2AA=:423=6 @?=J E@ E96 6IE6?E E92E DF49 =:23:=:EJ :7 2?J C6=2E6D E@ @C
                                                                               traded is in billions of U.S. dollars. Futures on the DTCC GCF Repo Index are traded on NYSE Liffe US.               2C:D6D 7C@> E96 DE@C65 A@H6C @C 32EE6CJ 3FD:?6DD                                                                            All Rights Reserved.
     90 days                       0.23       0.23        0.28       0.23
     120 days                      0.25       0.25        0.33       0.25      Sources: Federal Reserve; Bureau of Labor Statistics; DTCC; ICAP plc.; SIX Financial Information;
     150 days                      0.28       0.28        0.38       0.28      General Electric Capital Corp.; Tullett Prebon Information, Ltd.




                                                      YELLOW
                                                      CYAN
                                                      BLACK
                                                      MAGENTA                       Composite                                                                                                                                                          P2JW118000-0-C00500-1--------XA
